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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION


  LAJOAQUIN ARCENEAUX,                            Civil Case Number:

                          Plaintiffs,
                                                  CIVIL ACTION COMPLAINT
                     -against-

  CAINE & WEINER COMPANY, INC.,

                          Defendant.

        Plaintiff LAJOAQUIN ARCENEAUX (hereinafter, “Plaintiff”), a Louisiana resident,

 brings this complaint by and through the undersigned attorneys, against Defendant CAINE &

 WEINER COMPANY, INC. (hereinafter “Defendant”), based upon information and belief of

 Plaintiff’s counsel, except for allegations specifically pertaining to Plaintiff, which are based

 upon Plaintiff’s personal knowledge.

                     INTRODUCTION/PRELIMINARY STATEMENT

    1. Congress enacted the FDCPA in 1977 in response to the “abundant evidence of the use

        of abusive, deceptive, and unfair debt collection practices by many debt collectors.” 15

        U.S.C. § 1692(a). At that time, Congress was concerned that “abusive debt collection

        practices contribute to the number of personal bankruptcies, to material instability, to the

        loss of jobs, and to invasions of individual privacy.” Id. Congress concluded that

        “existing laws . . . [we]re inadequate to protect consumers,” and that “the effective

        collection of debts” does not require “misrepresentation or other abusive debt collection

        practices.” 15 U.S.C. §§ 1692(b) & (c).

    2. Congress explained that the purpose of the Act was not only to eliminate abusive debt
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        collection practices, but also to “ensure that those debt collectors who refrain from using

         abusive debt collection practices are not competitively disadvantaged.” Id. § 1692(e).

         After determining that the existing consumer protection laws were inadequate, id. §

         1692(b), Congress gave consumers a private cause of action against debt collectors who

         fail to comply with the Act. Id. § 1692k.

     3. The rights and obligations established by section 15 U.S.C. § 1692g were considered by

         the Senate at the time of passage of the FDCPA to be a “significant feature” of the Act.

         See S. Rep. No. 382, 95th Cong., 1st Sess. 4, at 4, reprinted in 1977 U.S.C.C.A.N. 1695,

         1696.

                                    JURISDICTION AND VENUE

     4. The Court has jurisdiction over this class action under 28 U.S.C. § 1331, 15 U.S.C. §

         1692 et seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction

         over the state law claims in this action pursuant to 28 U.S.C. § 1367(a).

     5. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

                                       NATURE OF THE ACTION

     6. Plaintiff brings this action seeking redress for Defendant’s actions of using unfair or

         unconscionable means in connection with the collection of an alleged debt.

     7. Defendant's actions violated § 1692 et seq. of Title 15 of the United States Code,

         commonly referred to as the Fair Debt Collections Practices Act (“FDCPA”) which

         prohibits debt collectors from engaging in false, deceptive or misleading practices.

     8. Plaintiff is seeking damages, and declaratory and injunctive relief.

                                               PARTIES

     9. Plaintiff is a natural person and a resident of the State of Louisiana, Lafayette Parish, and

         is a “Consumer” as defined by 15 U.S.C. §1692(a)(3).

     10. Defendant is a collection agency with its principal office located at 5805 Sepulveda

         Boulevard, 4th Floor, Sherman Oaks, California 91411.
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       .

    11. Upon information and belief, Defendant is a company that uses the mail, telephone, or

       facsimile in a business the principal purpose of which is the collection of debts, or that

       regularly collects or attempts to collect debts alleged to be due another.

    12. Defendant is a “debt collector,” as defined under the FDCPA under 15 U.S.C. §

       1692a(6).

                                 ALLEGATIONS OF FACT

    13. Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

       above herein with the same force and effect as if the same were set forth at length

       herein.

    14. Some time prior to May 4, 2021, an obligation was allegedly incurred to

       PROGRESSIVE SECURITY INSURANCE CO.

    15. The alleged PROGRESSIVE SECURITY INSURANCE CO obligation arose out of a

       transaction in which insurance or services, which are the subject of the transaction, are

       primarily for personal or family purposes.

    16. The alleged PROGRESSIVE SECURITY INSURANCE CO obligation is a "debt" as

       defined by 15 U.S.C.§ 1692a(5).

    17. PROGRESSIVE SECURITY INSURANCE CO is a "creditor" as defined by 15
        U.S.C.§ 1692a(4).

    18. Defendant contends that the PROGRESSIVE SECURITY INSURANCE CO debt is

       past due.

    19. Defendant is a company that uses mail, telephone or facsimile in a business the principal

       purpose of which is the collection of debts, or that regularly collects or attempts to collect

       debts incurred or alleged to have been incurred for personal, family or household
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       purposes on behalf of creditors.

    20. PROGRESSIVE SECURITY INSURANCE CO directly or through an intermediary

       contracted the Defendant to collect the alleged debt.

    21. Sometime in May of 2021 Plaintiff noticed a collection account on her credit reports.

    22. On or about May 4, 2021, Plaintiff sent a certified letter to Defendant disputing the

       alleged debt.

    23. In her May 4, 2021 letter, Plaintiff requested that Defendant cease all communication

       with her including email, phone, mail and fax communications.

    24. Despite Plaintiff’s written request for Defendant to cease all communication with her,

       on or about May 11, 2021, the Defendant caused to be delivered to the Plaintiff a

       collection letter in an attempt to collect the alleged PROGRESSIVE SECURITY

       INSURANCE CO debt. See Exhibit A.

    25. The May 11, 2021 letter was sent or caused to be sent by persons employed by

       Defendant as a “debt collector” as defined by 15 U.S.C. §1692a(6).

    26. The May 11, 2021 letter is a “communication” as defined by 15 U.S.C. §1692a(2).

    27. Pursuant to 15 U.S.C. §1692c of the FDCPA, if a consumer notifies a debt collector in

       writing that the consumer refuses to pay a debt or that the consumer wishes the debt

       collector to cease further communication with the consumer, the debt collector shall not

       communicate further with the consumer with respect to such debt, except (1) to notify

       the consumer that the debt collector’s further efforts are being terminated; (2) to notify

       the consumer that the debt collector or creditor may invoke specified remedies which

       are ordinarily invoked by such debt collector or creditor; or (3) where applicable, to
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       notify the consumer that the debt collector or creditor intends to invoke a specific

       remedy.

    28. The Defendant violated said section when it proceeded to communicate with the

       Plaintiff despite having received a letter clearly requesting that Defendant not make

       calls or send letters to the Plaintiff at any time.

    29. Defendant could have taken the steps necessary to bring its actions within

       compliance with the FDCPA, but neglected to do so and failed to adequately review

       its actions to ensure compliance with the law.


                                              COUNT I
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                             15 U.S.C. §1692c et seq.

    30. Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

       above herein with the same force and effect as if the same were set forth at length

       herein.

    31. Defendant’s debt collection efforts attempted and/or directed towards the

       Plaintiff violated various provisions of the FDCPA, including but not limited to

       15 U.S.C. § 1692c.

    32. The Defendant violated said section by:

       (a)       Communicating with a consumer in connection with the collection of a

                 debt after receiving written notice from the consumer that the consumer

                 wishes the debt collector to cease further communication with the

                 consumer in violation of § 1692c(c).

    33. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's
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        conduct violated Section 1692c et seq. of the FDCPA, actual damages, statutory

        damages, costs and attorneys' fees.


                                   PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against Defendant as follows:

              (a)      Awarding Plaintiff statutory damages;

              (b)      Awarding Plaintiff costs of this Action, including reasonable attorneys’

                       fees and expenses;

              (c)      Awarding pre-judgment interest and post-judgment interest; and

              (d)      Awarding Plaintiff such other and further relief as this Court may

                       deem just and proper.


 Dated: June 1, 2021

                                      By:      /s/Jonathan F. Raburn
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